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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                              CASE NO. 22-CV-22538-ALTMAN/Reid
   Dominik Karnas, et al., on behalf of themselves and
   all others similarly situated,

          Plaintiffs,

   v.

   Mark Cuban, et al.,

          Defendants.
                                                     /


                 [PROPOSED] ORDER FOLLOWING JOINT STATUS REPORT

          THIS CAUSE came before the Court upon the Parties’ Joint Status Report [ECF No. __],

   requesting a stay of all deadlines in the Amended Scheduling Order while the Parties pursue

   discovery from third party Voyager and resolving issues on various pending motions. The Court

   being fully advised, it is hereby

          ORDERED AND ADJUDGED that:

          1. The Parties’ request to stay all deadlines in the Amended Scheduling Order (ECF No.

              221) while the Parties continue to pursue discovery against third party Voyager is

              GRANTED;

          2. The Parties’ request for a Status Conference is GRANTED. A Status Conference to

              address the status of discovery and address new case deadlines is SET for

              September 23, 2024, at __________ in the Miami Division, Courtroom 12-4.

          3. As Plaintiffs have withdrawn their Motion for Reconsideration (ECF No. 269), all

              deadlines associated with that motion are hereby vacated;
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                                                                   Case No. 22-CV-22538-ALTMAN/REID



          4. As the Parties have resolved all issues related to redactions of the Sponsorship

             Agreement (ECF No. 256-26) and Email Exhibit (ECF No. 256-43), the Parties’ request

             to vacate the May 13, 2024 deadline for additional briefing (see ECF No. 282 ¶ 2) is

             GRANTED;

          5. As Plaintiffs have withdrawn their Motion for Leave to File Unredacted Reply (ECF

             No. 277), all deadlines associated with that motion are hereby vacated;

          6. The Parties’ request to stay all pending motions, briefing, appeal, attorneys’ fee requests

             pursuant to L.R. 7.3, and hearings related to Magistrate Judge Reid’s April 15, 2024

             Sealed Order (ECF Nos. 259, 273), Defendants’ March 22, 2024 motion (ECF No.

             246), and Plaintiffs’ May 1st email to Judge Reid (tentatively set for May 22, 2024) is

             GRANTED; and

          7. The Parties’ request to vacate the Court’s Nov. 19, 2023 Order Scheduling Mediation

             (ECF No. 199) is GRANTED.

          DONE AND SO ORDERED in Chambers in Miami, Florida, on this ____ day of

   ________ 2024.



                                                        THE HONORABLE ROY K. ALTMAN
                                                        United States District Judge


   Copies furnished to all Counsel of Record via CM/ECF




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